DOCUMENTS UNDER SEAL
                    Case 5:23-cr-00222-BLF Document 50 Filed 07/20/23 Page 1 8ofmins
                                                          TOTAL TIME (m ins):
                                                                                 1
M AGISTRATE JUDGE                         DEPUTY CLERK                             REPORTER/DIGITAL RECORDING:
M INUTE ORDER                            Justine Fanthorpe                         Liberty 1:39-1:47pm
MAGISTRATE JUDGE                          DATE                                     NEW CASE          CASE NUMBER
Nathanael M. Cousins                     7/20/23                                                     5:23-cr-00222-BLF-1
                                                     APPEARANCES
DEFENDANT                                 AGE      CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Kevin Chao                                         N         P      Edward Swanson                         APPT.
U.S. ATTORNEY                             INTERPRETER                            FIN. AFFT               COUNSEL APPT'D
Chris Kaltsas                                                                    SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR            PARTIAL PAYMENT
                            Gustavo Rangel                           APPT'D COUNSEL              OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                                                                             TRIAL SET
       I.D. COUNSEL               ARRAIGNMENT            BOND HEARING             IA REV PROB. or            OTHER
                               Felony Info                                        or S/R
       DETENTION HRG              ID / REMOV HRG         CHANGE PLEA              PROB. REVOC.               ATTY APPT
                                                                                                             HEARING
                                                   INITIAL APPEARANCE
        ADVISED                 ADVISED                 NAME AS CHARGED                 TRUE NAME:
        OF RIGHTS               OF CHARGES              IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON               READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                 SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY          SPECIAL NOTES                PASSPORT
      ON O/R            APPEARANCE BOND            $ 500,000                                             SURRENDERED
                        MODIFIED                                            unsecured
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                        REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED           RELEASED       DETENTION HEARING             REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS           TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
    CONSENT                     NOT GUILTY                GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA            PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                        FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                    STATUS RE:
10-17-23                         HEARING                  HEARING                 CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.            PRELIMINARY             CHANGE OF               STATUS
                                 AFFIDAVIT                HEARING                 PLEA
9:00AM                                                    _____________
BEFORE HON.                      DETENTION                ARRAIGNMENT             MOTIONS                  JUDGMENT &
                                 HEARING                                                                   SENTENCING
BLF
       TIME W AIVED              TIME EXCLUDABLE          IDENTITY /              PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC           REMOVAL                 CONFERENCE               HEARING
                                 3161                     HEARING
                                                ADDITIONAL PROCEEDINGS
Defense counsel to submit order to remove lien from property.


                                                                                         DOCUMENT NUMBER:
